Case 2:24-cr-00091-ODW   Document 159-5 Filed 11/04/24   Page 1 of 3 Page ID
                                  #:1942




                    EXHIBIT
                                   5
Case 2:24-cr-00091-ODW                 Document 159-5 Filed 11/04/24                      Page 2 of 3 Page ID
                                                #:1943




Rosemary Reyes

From:                           UW (JWPn <UW@usdoj.gov>
Sent:                           Wednesday, October 2, 2024 3:13 PM
To:                             Richard Schonfeld
Cc:                             David Z Chesnoff; DEH (JWPTI; Rigali, Christopher (NSD); Mulryne, Sean (CRM)
Subject:                        RE: US v. Smirnov



Richard,

We have reviewed your letters, Including the one dated August 28, 2024 which you sent me at a different email
account today. We have and will continue to comply with our discovery obligations pursuant to Federal Rule of
Criminal Procedure 16, 18 U.S.C. Section 3500 (the "Jencks Act"), Federal Rule of Criminal Procedure S(f) (see
ECF No. 43) and Brady, Gig/lo and related cases.

In addition to making appropriate discovery requests, your letters ask for documents and other materials that are
outside that body of law. As to that information and materials, we decline to produce it.

Leo Wise


From: UW (JWPT)
Sent: Tuesday, October 1, 2024 5:07 PM
To: rschonfeld@cslawoffice.net
Cc: David Z Chesnoff <dzchesnoff@cslawoffice.net>; DEH (JWPT) <DEH@usdoJ.gov>; Rigali, Christopher (NSD)
<Chr1stopher.Rigali2@usdoj.gov>; Mulryne, Sean (CRM) <Sean.Mulryne@usdoJ.gov>
Subject: RE: US v. Smirnov

Richard,

Your letter references three discovery requests, dated March 5, May 28, and August 28, 2024, but we only have
discovery requests from March 5 and May 28. Please email us the letter dated August 28, 2024.

Thank you,
Leo Wise




From: Wise, Leo (USAMD) <lwise@usa.doj.gov>
Sent: Friday, September 27, 2024 3:25 PM
To: UW (JWPT) <UW@usdoj.goV>
Subject: Fwd: US v. Smlrnov




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From: Richard Schonfeld <rschonfeld@cslawoffice.net>
Sent: Friday, September 27, 2024 2:57:36 PM
To: Wise, Leo (USAMD) <lwise@usa.doj.gov>; DEH (JWPT) <DEH@usdoj.gov>; Mulryne, Sean (CRM)

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Case 2:24-cr-00091-ODW                 Document 159-5 Filed 11/04/24                    Page 3 of 3 Page ID
                                                #:1944
    Case 2:24-cr-00091-ODW               Document 139-5 Filed 10/16/24               Page 3 of 3 Page ID
                                                  #:1655


<Sean.Mulryne@usdoj.gov>; Rigali, Christopher (NSD) <Christopher.Rigali2@usdo1.gov>; David Z Chesnoff
<dzchesnoff@cslawoffice.net>
Subject: [EXTERNAL) US v. Smirnov

Dear Counsel,

Please find attached a letter of today's date.

Sincerely,

CHESNOFF &SCHONFELD

Richa rd A. Schonfeld, Esq.




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